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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

HENRY OKNYANSKY,
a.k.a. GENNADY ARZHANIK,

NO. CV 00-7678-DDP(CW)

ORDER RE: RETURN TO PETITION
FOR WRIT OF HABEAS CORPUS
(28 U.S.C. § 2254)

Petltloner,
V.
GLENN MUELLER (Warden),

Respondent.

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Petltloner, a prlsoner ln state custody, has frled a petrtlon for
wrlt of habeas corpus. IT IS ORDERED as follows:

l. The Clerk of the Court shall promptly (a) serve a copy of
the Petltlon and a Copy of thls Order On respondent by dellverlng them
to the Attorney General of the State of Callfornla, or hrs authorlzed
agent; and (b) serve a copy of thls Order on petltloner.

2. Respondent shall flle and serve a return to the Petltion
wlthln twenty (20) days from the date of servlce cf thls Order. At

the tlme the Return ls flled, respondent shall lodge wlth the Court

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all records pertrnent to each claim addressed ln the Petltlon and/or

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the Return. lf respondent contends that petitioner has failed to
exhaust any state remedies as to any ground for relief alleged in the
Petition, respondent shall specify in the Return any state remedy
still available to petitioner. lf respondent waives or concedes the
issue of exhaustion, respondent shall so state, expressly, in the
Return. If respondent contends that the petition is barred by the
applicable one-year statute of limitations, respondent shall set forth
in the Return the basis for the calculations, including any tolling
periods. To the extent that there is a colorable argument that the
petition cannot be decided without the Court reaching the merits of
petitioner's claims, respondent is ordered to address the merits.

3. Petitioner may file and serve a traverse to the Return
within twenty (20) days from the service date of the Return. Any
traverse filed by petitioner (a) shall state whether petitioner admits
or denies each allegation of fact Contained in the Return; and (b)
shall be limited to facts or arguments responsive to matters raised in
the Return. Petitioner is advised that failure to file a traverse may
result in the allegations of the Return being accepted as true
pursuant to 28 U.S.C. § 2248.

4. Alternatively, if respondent COntends that the petition is
clearly subject to dismissal without reaching the merits of
petitioner's claims (eég4 because the petition is time-barred,
unexhausted, or successive), respondent may file a single motion to
dismiss (presenting all grounds for dismissal without reaching the
merits) in place of a return. Filing such a motion to dismiss will
stay this Order re: Return pending disposition of the motion.

5. lf respondent files a motion to dismiss, petitioner may file
and serve opposition thereto within twenty (20) days from the service

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date of the motion. Any such opposition shall be limited to facts or
arguments responsive to matters raised in the motion. Petitioner is
advised that failure to oppose a motion to dismiss may be construed as
consent to dismissal.

6. Unless otherwise ordered by the Court, this case will be
taken under submission, without oral argument, on the date that either
(a) a traverse is filed, or due and not filed; or (b) an opposition to
a motion to dismiss is filed, or due and not filed. The Court may
order further briefing or other proceedings, at any time, as

appropriate.

Dated: JulV 20, 2000

CARL§ d. WOEHRLE

United States Magistrate Judge

cc: Henry Oknyansky
a.k.a. Gennady Arzhanik
CDC # J-65098
Folsom State Prison
P.O. Box 71571
Represa, CA 95671~5071

Attorney General Bill Lockyer
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Los Angeles, CA 90013-1204

 

